Case 2:13-cv-08832-DSF-CW Document 298 Filed 03/02/16 Page 1 of 2 Page ID #:5276



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 8                         UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10   SHUXIN LI, et al.,                     Case No. 13-CV-08832-DSF (CWx)
11               Plaintiffs,                Consolidated with Case Nos.
                                            13-CV-8835-DSF (CWx)
12         v.                               15-CV-727-DSF (CWx)
13   EFT HOLDINGS, INC., et al.             ORDER GRANTING JOINT
14               Defendants.                STIPULATION TO SUSPEND
                                            DEADLINES PENDING DISMISSAL
15                                          OF PLAINTIFFS’ CLAIMS
     YUNXIA WANG, et al.,
16                                          Action Filed: November 27, 2013
                 Plaintiffs,                Trial Date: August 30, 2016
17
           v.
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     EFT HOLDINGS, INC., et al.,
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                 Defendants.
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Case 2:13-cv-08832-DSF-CW Document 298 Filed 03/02/16 Page 2 of 2 Page ID #:5277



  1         The Court, having considered the parties’ Joint Stipulation to Suspend
  2   Deadlines Pending Dismissal of Plaintiffs’ Claims, and for good cause shown,
  3   HEREBY ORDERS THAT:
  4         1.     All upcoming deadlines in this action are hereby suspended pending
  5   Plaintiffs’ dismissal of their claims upon payment of Defendants’ taxable costs,
  6   should they choose to do so.
  7         2.     In the event Plaintiffs have not dismissed their claims upon payment of
  8   Defendants’ taxable costs within 60 days of the entry of this order, the parties shall
  9   file a joint status report with the Court.
 10   IT IS SO ORDERED.
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 12   Dated: 3/2/16                                ________________________________
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                                                        Hon. Dale S. Fischer
                                                        United States District Judge
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